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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


LARRY KLAYMAN,

                               Plaintiff,
                       v.
                                                         Civil Action No. 1:14-cv-92
NATIONAL SECURITY AGENCY, et al

                              Defendants.




           PLAINTIFF’S RESPONSE TO COURT’S ORDER OF MARCH 28, 2018

         Plaintiffs and members of the putative class have reviewed the Court’s latest dismissal,

which was made without factual or legal bases, identical to what the Honorable Richard J. Leon

has done recently in related cases, and have observed that that Your Honor has again refused and

failed to state, as requested in this case and in Klayman v. Obama et al., 17-cv-1074 (D.D.C)

(“Klayman IV”), to disclose “whether it has been contacted by the FBI and the intelligence

agencies.” ECF No. 46.

         The failure and refusal to simply answer this legitimate question, when asked on multiple

occasions, has been taken as an admission by the plaintiff and pro se counsel in his own capacity

that indeed there have been ex parte communications with these government entities and/or their

agents. If this Court disagrees with this conclusion, Plaintiffs and the putative class ask the Court

one more time to make this disclosure within 5 business days.

         This last inquiry is necessary for Plaintiffs and the putative class, as well as the Plaintiffs

in related cases Klayman I1, Klayman II2, and Klayman IV (with the exception of Montgomery),


1   Klayman v. Obama et al., 13-cv-851 (D.D.C.).



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whose cases were also recently dismissed without factual or legal bases, is to determine the

appropriate course of action to pursue in furtherance of the due process and other rights which

have been denied to them, particularly since these cases were dismissed with prejudice after

years and months of inaction by this Court, without even allowing for leave to amend the

complaints.

         At one time Your Honor called these cases the “pinnacle of national importance.” It is

thus likely that something happened in the intervening years, such as pressure from the FBI and

intelligence agencies, which have committed several now documented continuing illegalities

concerning unconstitutional surveillance without probable cause, to have caused this Court to

jettison these matters on what on their face are clearly contrived, non-meritorious and even

frivolous grounds.



Date: March 29, 2018                                   Respectfully Submitted,

                                                       /s/ Larry Klayman_______

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                                                       Plaintiff Pro Se




2   Klayman v. Obama, et al., 13-cv-881 (D.D.C).



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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

March 29, 2018.



                                                   /s/ Larry Klayman




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